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                                   No. 6:20-cr-00097

                              United States of America
                                         v.
                              Marcelino Berumen et al.


                                        ORDER

                Before the court is the Government’s unopposed motion
            to designate this multi-defendant case as complex under 18
            U.S.C. §§ 3161(h)(7)(A) & (B)(ii). The court grants the motion,
            thereby suspending Speedy Trial Act deadlines. All future
            settings will be calendared accordingly. Furthermore, it is
            hereby ordered that all future trial settings will include all re-
            maining defendants.
                                So ordered by the court on January 20, 2021.



                                                J. C AMPBELL B ARK ER
                                              United States District Judge
